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                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:              18-05129                         RSM            Judge:        Randal S Mashburn                            Trustee Name:                      LARRY EDMONDSON
Case Name:            Empirical Laboratories, Llc                                                                                Date Filed (f) or Converted (c):   08/31/2018 (c)
                                                                                                                                 341(a) Meeting Date:               10/01/2018
For Period Ending:    06/30/2022                                                                                                 Claims Bar Date:                   02/04/2019


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/               Est Net Value                Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled           (Value Determined by                Abandoned                  Received by                Administered (FA)/
                                                                                 Values               Trustee, Less Liens,               OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                                Assets
                                                                                                        and Other Costs)

  1. 2007 Toyota 4Runner (u)                                                             Unknown                      7,000.00                                                       0.00                         FA
  2. 2007 Toyota Tacoma (u)                                                              Unknown                      4,000.00                                                       0.00                         FA
  3. Reunion bank account and Suntrust Bank Account                                       5,500.00                    5,500.00                                                       0.00                         FA
  4. OFFICE EQUIPMENT                                                                3,057,908.73                3,057,908.73                                                        0.00                         FA
  5. Void (u)                                                                                 0.00                        N/A                                                        0.00                         FA
  6. Void (u)                                                                                 0.00                        N/A                                                        0.00                         FA
  7. Machinery                                                                          100,319.94                  100,319.94                                                       0.00                         FA
  8. Additional office equipment and fixtures                                                 0.00                        0.00                                                       0.00                         FA
  9. Mortgage Reimbursement                                                                   0.00                        0.00                                                       0.00                         FA
 10. Accounts Receivable                                                                300,000.00                  300,000.00                                                       0.00                         FA
 11. Hartford Insurance Reimbursment (u)                                                      9.74                        9.74                                                       0.00                         FA
 12. Adversary case 20-90105 filed by Trustee against FedEx for                               0.00                   50,000.00                                                       0.00                         FA
     Recovery of Assets (u)
 13. Adversary case 20-90106 filed by Trustee against Sheila                                  0.00                   50,000.00                                                       0.00                   50,000.00
     McLendon for Recovery of Assets (u)
INT. Post-Petition Interest Deposits (u)                                                 Unknown                          N/A                                                        0.00                         FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $3,463,738.41              $3,574,738.41                                                      $0.00                    $50,000.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




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Update Claim #50 to reduce allowable amount as per 6/27/22 Court Order - agreen 6/30/2022
Justin Campbell 6/20/2022 notes: I can upload the order on the claim objection next Monday. After that, there will be nothing else to do. I will prepare my fee app in that case and
get it ready to file.
Justin Campbell 3/2/2022 notes: Draft and file notice of abandonment of judgment. Finalize and file TB Fee App in case
File F1 & F2 - agreen 6/28/2021
6/1/21Received summary judgment on post-petition 549 portion of the claims. Trial set on pre-petition claims on September 16. Just sent discovery to McLendon - Waiting on
response. Need to email to set up deposition.
Post deposit on Adv. #20-90105 FedEx Order to Compromise settlement - agreen 3/9/2021
1/26/21 Two Ad Pros Filed. Received email from FedEx counsel - setting up time to discuss settlement of FedEx Ad Pro. McLendon did not answer ad pro. Motion for Clerk's
Entry of Default filed. Entry of Default entered. FedEx Ad Pro settled and approved. McLendon Ad pro the only one left.
Need to convey settlement thoughts to counsel for McLendon. Need to inquire about possible bond for DOL funds.
9/8/20 Add Adversary cases as assets -agreen
6-20-20 Preferance actions to be filed against two creditors. Determing effect new local rule regarding Venue. Need to proceed against owner for taking money.12/31/19 Items
that need to be resolved: Turnover action for 401k funds, resolution of admin expense with landlord, amend employment to contingency for avoidance actions.
9/15/19 Stay relief granted to landlord. Stay relief granted to secured creditor. Shimadzu equipment sold by estate. Proceeds split with secured creditor. DOL issue still pending.
Tentative agreement in place with landlord for Admin rent. Going to switch to contigency employment for avoidance actions.401k Issues to resolve.
8/14/19 Need to finalize deal with Admin rent. Determine if there are any post-petition wage claims and what that means for agreement. Email DOL on resolution to this matter.
Get with E. Ray re: resolution. Will need to file a fee app here and switch employment to contingency.
5/8/19 Report of Sale filed
4/19/19 Both vehicles have been sold and monies deposited. Report of sale will be completed by 4/25/19
3/5/18 No change since last update
12/18/18 Given stay relief to secured creditor. Given stay relief to Landlord. Working to sell Shimadzu asset. Trustee has vehicles to sell. Need to finalize the Shimadtzu product
and review bank statements and records pertaining to avoidance actions.




Initial Projected Date of Final Report (TFR): 03/15/2020            Current Projected Date of Final Report (TFR): 09/01/2022

Trustee Signature:      /s/ LARRY EDMONDSON                Date: 07/25/2022
                        LARRY EDMONDSON
                        5213 Shenendoah Ct.
                        Nashville, TN 37220
                        (615)254-3765




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                                                                                         FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-05129                                                                                           Trustee Name: LARRY EDMONDSON
      Case Name: Empirical Laboratories, Llc                                                                             Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX7956
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX8675                                                                           Blanket Bond (per case limit): $12,000,000.00
For Period Ending: 06/30/2022                                                                          Separate Bond (if applicable):


       1                2                            3                                             4                                                    5                    6                     7

Transaction Date    Check or               Paid To / Received From                    Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                             ($)
                                                                           Balance Forward                                                                                                              $0.00

                                 No Transactions                                                                                                                                                        $0.00



                                                                                                          COLUMN TOTALS                                       $0.00                $0.00
                                                                                                                Less: Bank Transfers/CD's                    $0.00                 $0.00
                                                                                                          Subtotal                                            $0.00                $0.00
                                                                                                                Less: Payments to Debtors                    $0.00                 $0.00
                                                                                                          Net                                                 $0.00                $0.00




                                                                                 Page Subtotals:                                                             $0.00                 $0.00




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                                                                                         FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-05129                                                                                            Trustee Name: LARRY EDMONDSON
      Case Name: Empirical Laboratories, Llc                                                                               Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX0136
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8675                                                                              Blanket Bond (per case limit): $12,000,000.00
For Period Ending: 06/30/2022                                                                             Separate Bond (if applicable):


       1                2                            3                                              4                                                      5                   6                     7

Transaction Date    Check or               Paid To / Received From                      Description of Transaction               Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
                                                                           Balance Forward                                                                                                          $24,647.87

   07/01/21                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $26.34          $24,621.53
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   08/02/21                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $27.18          $24,594.35
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   09/01/21                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $27.16          $24,567.19
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   10/01/21                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $26.25          $24,540.94
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   11/01/21                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $27.10          $24,513.84
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   12/01/21                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $26.19          $24,487.65
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   01/03/22                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $27.04          $24,460.61
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   02/01/22                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $27.01          $24,433.60
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   03/01/22                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $24.37          $24,409.23
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   04/01/22                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $26.95          $24,382.28
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   04/20/22           2006       International Sureties LTD                1/1/2022 to 1/1/2023 Blanket                           2300-000                                          $55.27          $24,327.01
                                 Suite 420                                 Bond Premium, Bond
                                 701 Poydras St.                           #016026373
                                 New Orleans, LA 70139




                                                                                  Page Subtotals:                                                               $0.00              $320.86




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                                                                                         FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-05129                                                                                             Trustee Name: LARRY EDMONDSON
      Case Name: Empirical Laboratories, Llc                                                                               Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX0136
                                                                                                                                          Checking
  Taxpayer ID No: XX-XXX8675                                                                             Blanket Bond (per case limit): $12,000,000.00
For Period Ending: 06/30/2022                                                                            Separate Bond (if applicable):


       1                2                            3                                              4                                                     5                    6                     7

Transaction Date    Check or               Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                             ($)
   05/02/22                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $26.05          $24,300.96
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   06/01/22                      Axos Bank                                 Bank Service Fee under 11                              2600-000                                          $26.83          $24,274.13
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)


                                                                                                            COLUMN TOTALS                                       $0.00              $373.74
                                                                                                                  Less: Bank Transfers/CD's                    $0.00                 $0.00
                                                                                                            Subtotal                                            $0.00              $373.74
                                                                                                                  Less: Payments to Debtors                    $0.00                 $0.00
                                                                                                            Net                                                 $0.00              $373.74




                                                                                  Page Subtotals:                                                              $0.00                $52.88




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                                                                                           TOTAL OF ALL ACCOUNTS
                                                                                                                                             NET            ACCOUNT
                                                                                                         NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                 XXXXXX0136 - Checking                                          $2,235.87              $54,174.41           $24,274.13
                                                 XXXXXX7956 - Checking                                        $76,275.00                  $62.33                 $0.00
                                                                                                              $78,510.87               $54,236.74           $24,274.13

                                                                                                        (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                transfers)            to debtors)
                                                 Total Allocation Receipts:                    $0.00
                                                 Total Net Deposits:                       $78,510.87
                                                 Total Gross Receipts:                     $78,510.87



Trustee Signature:        /s/ LARRY EDMONDSON   Date: 07/25/2022

                          LARRY EDMONDSON
                          5213 Shenendoah Ct.
                          Nashville, TN 37220
                          (615)254-3765




                                                                         Page Subtotals:                                       $0.00                $0.00




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